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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                   Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                               Defendant.


                   NOTICE OF EXECUTIVE GRANT OF CLEMENCY

       On July 10, 2020, the President of the United States commuted the sentence imposed by

the Court on of the defendant, Roger J. Stone, including the prison sentence, supervised release

term, and unpaid portion of the fine. Roger J. Stone’s felony convictions—for obstructing the

United States Congress, making false statements, and tampering with a witness—still stand. A

copy of the Executive Grant of Clemency is attached.


                                                   Respectfully submitted,

                                                   MICHAEL R. SHERWIN
                                                   N.Y Bar No. 4444188
                                                   Acting United States Attorney for the
                                                   District of Columbia


                                               By: /s/ J.P. Cooney
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                                                   /s/ John D. Crabb
                                                   JOHN D. CRABB JR., N.Y. Bar #2367670
                                                   Assistant United States Attorney
                                                   Chief, Criminal Division
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing pleading was served via ECF to counsel for the

defendant, Roger J. Stone, on July 13, 2020.

                                               /s/ J.P. Cooney
                                               J.P. COONEY, D.C. Bar No. 494026
                                               Assistant United States Attorney
                                               Chief, Fraud & Public Corruption Section
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